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NOT FOR PUBLICATION

                   IN THE DISTRICT COURT OF THE VIRGIN ISLANDS
                              DIVISION OF ST. CROIX

__________________________________________
                                          :
UNITED STATES OF AMERICA,                 :
                                          :
                  Plaintiff,              :                Crim. No. 2005-0028
                                          :                Crim. No. 2007-0042
                  v.                      :
                                          :                ORDER
ISAIAH FAWKES,                            :
JAMAAL MARAGH,                            :
CHRISTOPHER ALFRED,                       :
MARCELINO GARCIA,                         :
SHANGO ALLICK,                            :
JAMAL YOUNG,                              :
CAROLYN URGENT                            :
                                          :
                  Defendants.             :
__________________________________________:

THOMPSON, U.S.D.J.

       THIS MATTER came before the Court on Defendants’ Motion in Limine [177] seeking

an order to require counsel for defendants to submit factual responses to the Government’s

Proffer. Having carefully considered the motion and being otherwise fully advised in the

premises, it is hereby,

       ORDERED that Defendants’ Motion in Limine [177] is DENIED.




                                                   _____________________________
Date: June 16th, 2008                               ANNE E. THOMPSON, U.S.D.J.

ATTEST:

WILFREDO MORALES
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Clerk of the Court


BY: __________________
       Deputy Clerk




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